                                    Case 23-13364-LMI
 Fill in this information to identify the case:
                                                                  Doc       Filed 07/24/23       Page 1 of 3
B 10 (Supplement 2) (12/11)
              Yainet   Gomez(post publication draft)
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                Southern                          FL
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number               23-13364-LMI
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                         12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
                   U.S. Bank Trust Company, National Association not in its
                   individual capacity but solely as Trustee for the CIM
                                                                                                       6
 Name of creditor: _______________________________________
                   TRUST 2023-NR1 Mortgage-Backed Notes, Series 2023-NR1 Court claim no. (if known): __________________


 Last 4 digits of any number you use to
                                                          8
                                                         ____  2
                                                              ____  4
                                                                   ____  2
                                                                        ____
 identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 X No

  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                   Amount

  1. Late charges                                                        _________________________________          (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________          (2)   $ __________
  3. Attorney fees                                                       _________________________________          (3)   $ __________
  4. Filing fees and court costs                                         _________________________________          (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________          (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________          (6)   $ __________
  7. Property inspection fees                                            _________________________________          (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________          (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________          (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________         (10)   $ __________
                      Plan Review                                             5/30/2023                                      175.00
 11. Other. Specify:____________________________________                 _________________________________         (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________         (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________         (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________         (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                        page 1
                              Case 23-13364-LMI                        Doc      Filed 07/24/23           Page 2 of 3


                        Yainet Gomez                                                                              23-13364-LMI
Debtor 1     _______________________________________________________                       Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  x I am the creditor’s authorized agent.
  

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.


                                                                                                     7/24/2023
            8__________________________________________________
                 Signature
                                                                                           Date    ____/_____/________



                    Marc G. Granger, Esq.                                                           Bankruptcy Attorney
 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



                  Kahane and Associates, P.A.
 Company         _________________________________________________________


                   1619 NW 136th Street, Suite D-220
 Address         _________________________________________________________
                 Number                 Street
                   Sunrise FL 33323
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone     954 _____–
                 (______)      3486
                          382 _________                                                            mgranger@kahaneandassociates.com
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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